Case:19-02544-jwo Doc #:1-8 Filed: 06/11/19 Page1of2

Fill in this information to identify your case:

Debtor 4 SEAN SCOT QUALLS

First Name Middle Name Last Name.

Debtor 2 JENNIFER MAY QUALLS

{Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Western District of Michigan

Case number
{If known)

 

 

CJ Check if this is an
amended filing

 

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7 2s

If you are an individual filing under chapter 7, you must fill out this form if:

— creditors have claims secured by your property, or

® you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

if two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known).

| Part 1: Your Creditors Who Have Secured Claims

1, For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property {Official Form 106D), fill in the

information below.

Identify the creditor and the property that is collateral

Creditor's

ce DIGITAL FEDERAL CREDIT UNION

Description of Solar Panels

property
securing debt:

Creditor's

‘ame FLAGSTAR BANK

Description of 7556 Parsonage Road

property Saranac, Michigan 48881
securing debt:

Creditor’s
name:

Description of
property
securing debt:

Creditor’s
name:

Description of

property
securing debt:

Official Form 108

What do you intend to do with the property that
secures a debt?

Did you claim the property
as exempt on Schedule C?
() Surrender the property. bd No

CJ Retain the property and redeem it. CJ Yes

Retain the property and enter into a
Reaffirmation Agreement.

Cl Retain the property and [explain]:

 

CJ Surrender the property. CNo
CQ Retain the property and redeem it. Wh ves

WF Retain the property and enter into a
Reaffirmation Agreement.

LJ Retain the property and [explain]:

 

CJ Surrender the property. C) No
CJ) Retain the property and redeem it. ves

() Retain the property and enter into a
Reaffirmation Agreement.

L] Retain the property and [explain]:

 

CJ Surrender the property. LI No
(J Retain the property and redeem it. OC) Yes

C] Retain the property and enter into a
Reaffirmation Agreement.

Q] Retain the property and [explain]:

 

Statement of Intention for Individuals Filing Under Chapter 7 page 1
Case:19-02544-jwob Doc #:1-8 Filed: 06/11/19 Page 2of2

Debtor 4 SEAN SCOT QUALLS

First Name. Middle Name Last Name

a List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended, You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Case number (/f known)

 

Describe your unexpired personal property leases Will the lease be assumed?
Lessor's name: NO UNEXPIRED LEASES CI No
mos C] Yes
Description of leased
property:
Lessor’s name: CJ No
Oy
Description of leased “s
property:
Lessor’s name: LI No
Description of leased QC) Yes
property:
Lessor’s name: CI No
QO) Yes
Description of leased
property:
Lessor’s name: No
CL) Yes
Description of leased
property:
Lessor’s name: No
QO Yes
Description of leased
property:
Lessor’s name: C1 No
L] Yes

Description of leased
property:

Sign Below

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

x a X¥ OM AN

Signature of Debtor 1

Date of dD? / 20/9

MM/ DD / YYYY

 

 

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2
